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 9                             UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11

12 ASIF MEHEDI, Individually and on Behalf of   Case No.
   All Others Similarly Situated,
13                                              CLASS ACTION COMPLAINT FOR
                 Plaintiff,                     VIOLATIONS OF THE FEDERAL
14                                              SECURITIES LAW
          v.
15
   VIEW, INC. f/k/a CF FINANCE
16 ACQUISITION CORP. II, RAO MULPURI,
   and VIDUL PRAKASH,
17
                 Defendant.
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 1          Plaintiff Asif Mehedi (“Plaintiff”), individually and on behalf of all others similarly

 2 situated, by and through his attorneys, alleges the following upon information and belief, except as

 3 to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

 4 information and belief is based upon, among other things, his counsel’s investigation, which

 5 includes without limitation: (a) review and analysis of regulatory filings made by View, Inc.

 6 (“View” or the “Company”) f/k/a CF Finance Acquisition Corp. II (“CF II”) with the United

 7 States (“U.S.”) Securities and Exchange Commission (“SEC”); (b) review and analysis of press

 8 releases and media reports issued by and disseminated by View; and (c) review of other publicly

 9 available information concerning View.

10                          NATURE OF THE ACTION AND OVERVIEW
11          1.     This is a class action on behalf of persons and entities that purchased or otherwise
12 acquired View securities between November 30, 2020 and August 16, 2021, inclusive (the “Class

13 Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

14 1934 (the “Exchange Act”).

15          2.     View is a technology company that manufactures smart building products that are
16 purportedly designed to improve people’s health, productivity, and experience while reducing

17 energy consumption. Its primary product is a proprietary electrochromic or “smart” glass panel

18 that, in combination with the Company’s proprietary network and software, intelligently adjusts in

19 response to the sun by tinting from clear to dark states, thereby reducing heat and glare.

20          3.     CF II was a special purpose acquisition company formed for the purpose of

21 effecting a merger, capital stock exchange, asset acquisition, stock purchase, reorganization, or

22 similar business combination with one or more businesses.

23          4.     On March 8, 2021, CF II and View combined via a Business Combination with

24 View as the surviving, public entity.

25          5.     On August 16, 2021, after the market closed, View announced that it “began an

26 independent investigation concerning the adequacy of the company’s previously disclosed

27 warranty accrual.”

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 1          6.      On this news, the Company’s share price fell $1.26, or over 24%, to close at $3.92

 2 per share on August 17, 2021, on unusually heavy trading volume.

 3          7.      Throughout the Class Period, Defendants made materially false and/or misleading

 4 statements, as well as failed to disclose material adverse facts about the Company’s business,

 5 operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that View

 6 had not properly accrued warranty costs related to its product; (2) that there was a material

 7 weakness in View’s internal controls over accounting and financial reporting related to warranty

 8 accrual; (3) that, as a result, the Company’s financial results for prior periods were misstated; and

 9 (4) that, as a result of the foregoing, Defendants’ positive statements about the Company’s

10 business, operations, and prospects were materially misleading and/or lacked a reasonable basis.

11          8.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

12 in the market value of the Company’s securities, Plaintiff and other Class members have suffered

13 significant losses and damages.

14                                    JURISDICTION AND VENUE
15          9.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange
16 Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

17 C.F.R. § 240.10b-5).

18          10.     This Court has jurisdiction over the subject matter of this action pursuant to 28
19 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

20          11.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

21 Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

22 alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

23 charged herein, including the dissemination of materially false and/or misleading information,

24 occurred in substantial part in this Judicial District. In addition, the Company’s principal executive

25 offices are located in this District.

26          12.     In connection with the acts, transactions, and conduct alleged herein, Defendants

27 directly and indirectly used the means and instrumentalities of interstate commerce, including the

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 1 United States mail, interstate telephone communications, and the facilities of a national securities

 2 exchange.

 3                                              PARTIES
 4          13.    Plaintiff Asif Mehedi, as set forth in the accompanying certification, incorporated

 5 by reference herein, purchased View securities during the Class Period, and suffered damages as a

 6 result of the federal securities law violations and false and/or misleading statements and/or

 7 material omissions alleged herein.

 8          14.    Defendant View is incorporated under the laws of Delaware with its principal

 9 executive offices located in Milpitas, California. View’s Class A common stock trades on the

10 NASDAQ exchange under the symbol “VIEW.” Its redeemable warrants trade on the NASDAQ

11 exchange under the symbol “VIEWW,” where each whole warrant is exercisable for one share of

12 Class A common stock at an exercise price of $11.50.

13          15.    Defendant Rao Mulpuri (“Mulpuri”) was the Company’s Chief Executive Officer

14 (“CEO”) at all relevant times.

15          16.    Defendant Vidul Prakash (“Prakash”) was the Company’s Chief Financial Officer

16 (“CFO”) at all relevant times.

17          17.    Defendants Mulpuri and Prakash (collectively the “Individual Defendants”),

18 because of their positions with the Company, possessed the power and authority to control the

19 contents of the Company’s reports to the SEC, press releases and presentations to securities

20 analysts, money and portfolio managers and institutional investors, i.e., the market.           The

21 Individual Defendants were provided with copies of the Company’s reports and press releases

22 alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and

23 opportunity to prevent their issuance or cause them to be corrected. Because of their positions and

24 access to material non-public information available to them, the Individual Defendants knew that

25 the adverse facts specified herein had not been disclosed to, and were being concealed from, the

26 public, and that the positive representations which were being made were then materially false

27 and/or misleading. The Individual Defendants are liable for the false statements pleaded herein.

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 1                                  SUBSTANTIVE ALLEGATIONS
 2                                                 Background
 3          18.    View is a technology company that manufactures smart building products that are

 4 purportedly designed to improve people’s health, productivity, and experience while reducing

 5 energy consumption. Its primary product is a proprietary electrochromic or “smart” glass panel

 6 that, in combination with the Company’s proprietary network and software, intelligently adjusts in

 7 response to the sun by tinting from clear to dark states, thereby reducing heat and glare.

 8          19.    CF II was a special purpose acquisition company formed for the purpose of

 9 effecting a merger, capital stock exchange, asset acquisition, stock purchase, reorganization, or

10 similar business combination with one or more businesses.

11          20.    On March 8, 2021, CF II and View combined via a Business Combination with

12 View as the surviving, public entity.

13                                   Materially False and Misleading
14                             Statements Issued During the Class Period
15          21.    The Class Period begins on November 30, 2020. On that day, CF II and View
16 announced that they had entered into a definitive merger agreement in a press release that stated,

17 in relevant part:

18          View, Inc. ("View"), a Silicon Valley-based smart window company, and CF
            Finance Acquisition Corp. II (Nasdaq: CFII) ("CF II"), a special purpose
19          acquisition company sponsored by Cantor Fitzgerald, today announced they have
            entered into a definitive merger agreement. The combined company will be called
20          View, Inc. and will be publicly listed on the NASDAQ market following the close
            of the transaction.
21
                                               *       *        *
22
            Transaction Details
23
            The Board of Directors of each of View and CF Finance Acquisition Corp. II have
24          unanimously approved the transaction. The transaction will require the approval of
            the stockholders of CF Finance Acquisition Corp. II and View, and is subject to
25          other customary closing conditions, including the receipt of certain regulatory
            approvals. The transaction is expected to close in the first quarter of 2021.
26
            Assuming no redemptions by CF II stockholders, the transaction is expected to
27          deliver up to $800 million of gross proceeds including the contribution of up to
            $500 million of cash held in CFII's trust account from its initial public offering. The
28

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 1         transaction is further supported by a $300 million private investment in public
           equity ("PIPE") at $10.00 per share.
 2
           All cash remaining in CF II at the closing after paying off transaction expenses and
 3         CF II liabilities is expected to be used to retire debt and to add cash to View's
           balance sheet for working capital, growth capex and other general corporate
 4         purposes.

 5         22.    On December 23, 2020, CF II filed its Registration Statement on Form S-4 (the

 6 “Registration Statement”) in connection with the Business Combination. The Registration

 7 Statement reported that View recorded a one-time warranty accrual of $24.5 million during the

 8 nine months ended September 30, 2019 and that the Company’s cost of revenue decreased year-

 9 over-year during the nine months ended September 30, 2020. Specifically, the Registration

10 Statement stated:

11         Cost of revenue decreased by $44.2 million or 32.5%, from $136.0 million in the
           nine months ended September 30, 2019, to $91.8 million in the nine months ended
12         September 30, 2020. The decrease in the cost of revenue was primarily related to
           three factors: (a) a one-time warranty accrual of $24.5 million during the nine
13         months ended September 30, 2019 related to faulty materials from one of our
           suppliers used in the manufacturing of IGUs, (b) a $16.9 million decrease in
14         customer support expense, consisting of a $5.9 million decrease in customer
           support expenses due to cost reductions efforts and an $11.0 million decrease in
15         customer support expenses due to a re-allocation of resources from cost of revenue
           to selling, general, and administrative expenses, and (c) a decrease in production
16         cost of $2.3 million, consisting of a decrease in our inventory valuation provision
           of $14.2 million relating to the production of certain standard inventory units
17         considered excess and obsolete in the nine months ended September 30, 2019,
           offset by an increase of $11.9 million due to change in the mix of our products
18         manufactured to satisfy customer orders.

19         23.     The Registration Statement also reported the following financial results:

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             24.     Regarding risks
                               r     impactiing View, thhe Registratioon Statemennt stated, in rrelevant part:
11
             View may
                   m choose to or be com   mpelled to u
                                                      undertake pproduct recaalls or take other
12           similarr actions, wh
                                hich could adversely
                                           a         aff
                                                      ffect View’ss brand imagge and finaancial
             performmance.
13
                                                  *        *       *
14
             In 2019 9, View iden  ntified a quaality issue wwith certain mmaterial purrchased from m one
15           of its suuppliers utillized in the manufacturi
                                                 m            ing of certainn IGUs. Vieew stopped uusing
             the affeected materiaals upon identification inn 2019. As oof Decembeer 31, 2019, V     View
16           had a loow warranty y claim rate related
                                                 r       to thiis matter. Viiew has repllaced and exxpects
             to contiinue to replaace affected IGUs for thee remainderr of the periood covered bby the
17           warrantty. View an   nalyzed the risk of failuure of the affected IGU       Us by analyyzing
             failure rate as a funnction of tim me required ffor the IGU to fail sincee it was instaalled,
18           and thee geographiccal region wh    here the IGU U was ultimately installeed. Based onn this
             analysiss, View estiimated the numbern        of IIGUs expeccted to fail in the remaaining
19           warrantty period an nd applied an   n estimated cost to calcculate the coost to replacce the
             IGUs. The
                     T estimateed cost inclu    udes View’s expectationns regarding future reducctions
20           in prod duction costts. Based on     n its analyssis, View rrecognized $$24.5 millioon of
             expensee for the estiimated futurre cost to repplace defectiive IGUs claassified in coost of
21           revenuee in View’s consolidated     d statement oof compreheensive loss fofor the year eended
             Decemb   ber 31, 2019. View reccognized a ccorrespondinng warrantyy liability off $1.6
22           million in other current
                                 c         liabilities and $$22.9 millioon in other liabilities oon its
             consolidated balan  nce sheet ass of Decem      mber 31, 2019. Consideering the lim     mited
23           failure rate data available
                                   a           to--date, and the uncertainty inherennt in the faailure
             analysiss and the pro ojected costss to replace ddefective IGGUs in futuree years, the aactual
24           timing, number of defective
                                   d          IGGUs, and amoount of costss to be incurrred to replacce the
             defectivve IGUs co  ould be matterially diffeerent from tthe estimatee. There waas no
25           significcant change in the warraanty accrual in the nine m    months endeed Septembeer 30,
             2020.
26
             25.     The Registrration Statem
                                            ment furtherr stated that View’s “w
                                                                              warranty reseerves may bee
27
     inssufficient to cover
                      c     future warranty claims.” Speccifically, it sttated:
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 1          View’s current and future warranty reserves may be insufficient to cover future
            warranty claims which could adversely affect its financial performance.
 2
            If View’s warranty reserves are inadequate to cover future warranty claims on its
 3          products, its business, prospects, financial condition and operating results could be
            materially and adversely affected. View evaluates warranty reserves on an ongoing
 4          basis and record liabilities for matters in which losses are probable and the amount
            of loss can be reasonably estimated. In 2019, View identified a quality issue with
 5          certain material purchased from one of its suppliers utilized in the manufacturing of
            certain IGUs. View stopped using the affected materials upon identification in
 6          2019. As of December 31, 2019, View had a low warranty claim rate related to this
            matter. View has replaced and expects to continue to replace affected IGUs for the
 7          remainder of the period covered by the warranty. View analyzed the risk of failure
            of the affected IGUs by analyzing failure rate as a function of time required for the
 8          IGU to fail since it was installed, and the geographical region where the IGU was
            ultimately installed. Based on this analysis, View estimated the number of IGUs
 9          expected to fail in the remaining warranty period and applied an estimated cost to
            calculate the cost to replace the IGUs. The estimated cost includes View’s
10          expectations regarding future reductions in production costs. Based on its analysis,
            View recognized $24.5 million of expense for the estimated future cost to replace
11          defective IGUs classified in cost of revenue in View’s consolidated statement of
            comprehensive loss for the year ended December 31, 2019. View recognized a
12          corresponding warranty liability of $1.6 million in other current liabilities and
            $22.9 million in other liabilities on its consolidated balance sheet as of December
13          31, 2019. Considering the limited failure rate data available to-date, and the
            uncertainty inherent in the failure analysis and the projected costs to replace
14          defective IGUs in future years, the actual timing, number of defective IGUs, and
            amount of costs to be incurred to replace the defective IGUs could be materially
15          different from the estimate. There was no significant change in the warranty accrual
            in the nine months ended September 30, 2020.
16
            26.    The Registration Statement described View’s warranty policy and accounting as
17
     follows:
18
            Product Warranties
19
            We provide a standard assurance type warranty that our IGUs will be free from
20          defects in materials and workmanship for 10 years from the date of delivery to
            customers. IGUs with sloped or laminated glass have a warranty of 5 years. Control
21          systems associated with the sale of IGUs have a 5-year warranty. Management
            judgment is required to estimate the amount of product warranty accrual. Warranty
22          accruals are based on estimates that are updated on an ongoing basis taking into
            consideration inputs such as changes in the failure rates, volume of claims
23          compared with our historical experience, and the changes in the cost of servicing
            warranty claims.
24
            There is uncertainty inherent in the failure rate analysis and the projected costs to
25          replace or repair the defective products in future years, as such we evaluate
            warranty accruals on an ongoing basis and account for the effect of changes in
26          estimates prospectively.
27          In 2019, we identified a quality issue with certain material purchased from one of
            our suppliers utilized in the manufacturing of certain IGUs. The Company stopped
28          using the affected materials upon identification in 2019. As of December 31, 2019,

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 1           we had a low warranty claim rate related to this matter. We have replaced and
             expect to continue to replace affected IGUs for the remainder of the period covered
 2           by the warranty. We analyzed the risk of failure of the affected IGUs by analyzing
             failure rate as a function of time required for the IGU to fail since it was installed,
 3           and the geographical region where the IGU was ultimately installed. Based on this
             analysis, we estimated the number of IGUs expected to fail in the remaining
 4           warranty period and applied an estimated cost to calculate the cost to replace the
             IGUs. The estimated cost includes our expectations regarding future reductions in
 5           production costs. Based on our analysis, we recognized $24.5 million of expense
             for the estimated future cost to replace defective IGUs classified in cost of revenue
 6           in our consolidated statement of comprehensive loss for the year ended December
             31, 2019. We recognized a corresponding warranty liability of $1.6 million in other
 7           current liabilities and $22.9 million in other liabilities on our consolidated balance
             sheet as of December 31, 2019. Considering the limited failure rate data available
 8           to-date, and the uncertainty inherent in the failure analysis and the projected costs
             to replace defective IGUs in future years, the actual timing, number of defective
 9           IGUs, and amount of costs to be incurred to replace the defective IGUs could be
             materially different from the estimate. There was no significant change in the
10           warranty accrual in the nine months ended September 30, 2020.

11           27.    On January 26, 2021, CF II filed an amendment to the Registration Statement,

12 which contained substantially similar statements regarding risks related to product warranties as

13 identified in ¶¶ 24-26. It further stated that View recorded a one-time warranty accrual of $24.5

14 million during the nine months ended September 30, 2019 and that the Company’s cost of revenue

15 decreased year-over-year during the nine months ended September 30, 2020. Specifically, it

16 stated:

17           Cost of revenue decreased by $44.2 million or 32.5%, from $136.0 million in the
             nine months ended September 30, 2019, to $91.8 million in the nine months ended
18           September 30, 2020. The decrease in the cost of revenue was primarily related to
             the three following factors:
19
             (a) A one-time warranty accrual of $24.5 million during the nine months ended
20           September 30, 2019 related to faulty materials from one of our suppliers used in the
             manufacturing of IGUs. In 2019, we identified a quality issue with certain material
21           purchased from one of our suppliers utilized in the manufacturing of certain IGUs.
             We stopped using the affected materials upon identification in 2019. As of
22           September 30, 2020, we had a low warranty claim rate related to this matter. We
             have replaced and expect to continue to replace affected IGUs for the remainder of
23           the period covered by the warranty. We analyzed the risk of failure of the affected
             IGUs by analyzing failure rate as a function of time required for the IGU to fail
24           since it was installed, and the geographical region where the IGU was ultimately
             installed. Based on this analysis, we estimated the number of IGUs expected to fail
25           in the remaining warranty period and applied an estimated cost to calculate the cost
             to replace the IGUs. The estimated cost includes our expectations regarding future
26           reductions in production costs which are primarily comprised of materials, labor,
             and factory overhead. Based on our analysis, we recognized $24.5 million of
27           expense for the estimated future cost to replace defective IGUs classified in cost of
             revenue in our consolidated statement of comprehensive loss for the nine months
28           ended September 30, 2019. Itis reasonably possible that the amount of costs to be

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 1           incurred to replace the defective IGUs could be materially different from the
             estimate. Considering the limited failure rate data available to-date and the
 2           uncertainty inherent in the failure analysis, including the projected costs to replace
             defective IGUs in future years, the actual timing of the failures and the number of
 3           defective IGUs, we are unable to estimate the amount of any potential additional
             losses. See section titled Critical Accounting Policies and Estimates – Product
 4           Warranties.

 5           (b) A $16.9 million decrease in customer support expense . . .

 6           (c) A decrease in production cost of $2.3 million . . .

 7           28.       On February 16, 2021, the Company filed its prospectus on Form 424b3, soliciting

 8 stockholder approval for the Business Combination, which contained substantially the same

 9 statements as identified in ¶¶ 24-27. The same day, the Registration Statement was declared

10 effective.

11           29.       On March 15, 2021, View issued a press release announcing its fiscal 2020

12 financial results, stating in relevant part:

13           Business highlights are detailed below:

14                    Full year revenue increased 32.8% y/y to $32.3 million in spite of the
                       impacts of the pandemic
15
                      GAAP loss from operations improved 16.1% y/y; Adjusted EBITDA
16                     improved 27.7% y/y

17                    Completed the announced transaction, raising gross proceeds of $815.2
                       million resulting in $518.3 million of cash on the balance sheet, after
18                     retiring existing debt

19                    Recent customer announcements include Uber, Dallas Forth Worth
                       International Airport, Tavistock Development Company, Oxford Property
20                     Group, Google, Nuveen, and others (see below for more details)

21           “View exceeded our plan for the full year 2020. Now in the public markets, we are
             excited about building on that success,” said Dr. Rao Mulpuri, Chairman and CEO
22           of View. “The company is poised for high growth with a strong balance sheet,
             exciting product offerings, growing customer base, and accelerating market
23           adoption. We are well capitalized and excited about the future, as the world looks
             to build smart buildings that are more sustainable, experiential, and healthier.”
24
             30.       On May 12, 2021, View issued a press release announcing its first quarter 2021
25
     financial results, stating in relevant part:
26
             First Quarter 2021 Highlights:
27
                      GAAP revenue of $11.8 million, a 29% increase from Q1 2020 and a 52%
28                     increase from Q4 2020.

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 1                   GAAP cost of revenue of $29.9 million, a 16% improvement from Q1 2020
                      and a 5% improvement from Q4 2020 due to production efficiencies.
 2
                     GAAP operating expenses of $37.1 million, a 16% improvement from Q1
 3                    2020 driven by cost controls, and a 10% increase over Q4 2020 related to
                      growth initiatives and IPO preparations.
 4
                     GAAP loss from operations of ($55.1) million, a 22% improvement
 5                    compared to Q1 2020 and 4% improvement from Q4 2020.

 6                   Non-GAAP Adjusted EBITDA of ($37.8) million, a 31% improvement
                      compared to Q1 2020 reflecting higher revenues, improved factory costs
 7                    and streamlined operating expenses. Non-GAAP Adjusted EBITDA
                      improvement of 11% over Q4 2020.
 8
            31.       On May 17, 2021, View filed its quarterly report on Form 10-Q for the period
 9
     ended March 31, 2021 (the “1Q21 10-Q”), affirming the previously reported financial results.
10
     Regarding product warranties, the Company stated, in relevant part:
11
            Product Warranties
12
            The Company provides a standard assurance type warranty that its IGUs will be
13          free from defects in materials and workmanship for generally 10 years from the
            date of delivery to customers. IGUs with sloped or laminated glass generally have a
14          warranty of 5 years. Control systems associated with the sale of IGUs typically
            have a 5-year warranty. In resolving warranty claims, the Company generally has
15          the option of either repairing or replacing the covered product. Based on historical
            experience, the Company accrues for estimated returns of defective products at the
16          time revenue is recognized. The Company monitors warranty obligations and may
            make revisions to its warranty reserve if actual costs of product repair and
17          replacement are significantly higher or lower than estimated. Accruals for
            anticipated future warranty costs are recorded to cost of revenue in the
18          condensed consolidated statements of comprehensive loss and included in other
            current liabilities and other liabilities on the condensed consolidated balance
19          sheet. Warranty accruals are based on estimates that are updated on an ongoing
            basis taking into consideration inputs such as changes in the volume of claims
20          compared with the Company’s historical experience, and the changes in the cost of
            servicing warranty claims. The estimated cost includes the Company’s expectations
21          regarding future reductions in production costs which comprise of materials, labor,
            and factory overhead. The Company accounts for the effect of such changes in
22          estimates prospectively.

23          In 2019, the Company identified a quality issue with certain material purchased
            from one of its suppliers utilized in the manufacturing of certain IGUs. The
24          Company stopped using the affected materials upon identification in 2019. The
            Company has had a low warranty claim rate to-date related to this matter. The
25          Company has replaced and expects to continue to replace the affected IGUs for the
            remainder of the period covered by the warranty. The Company analyzed the risk
26          of failure of the affected IGUs by analyzing historical failure rate as a function of
            time since the IGU installation. Based on this analysis, the Company estimated the
27          number of IGUs expected to fail in the remaining warranty period and applied an
            estimated cost to calculate the cost to replace the IGUs. The estimated cost includes
28

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 1          the Company’s expectations regarding future reductions in production costs which
            comprise of materials, labor, and factory overhead.
 2
            As of March 31, 2021 and December 31, 2020, the warranty liability included in
 3          accrued expenses and other current liabilities was $3.8 and $4.0 million and
            other liabilities was $18.1 million and $18.7 million, respectively, on the
 4          condensed consolidated balance sheets. During the three months ended March
            31, 2021, the Company recorded a net credit of $0.3 million for the reduction in
 5          product warranties and consumption of $0.5 million. During the three months
            ended March 31, 2020, the Company recognized a warranty expense of $0.5
 6          million and consumption of $0.7 million.

 7          Unforeseen component failures or exceptional component performance can also
            result in changes to warranty costs. If actual warranty costs differ substantially
 8          from the Company’s estimates, revisions to the estimated warranty liability would
            be required, which could have a material adverse effect on the Company’s
 9          business, financial condition and results of operations.
10          32.       The 1Q21 10-Q also stated that the Company had material weaknesses in its

11 internal control over financial reporting:

12          We did not design or maintain an effective internal control environment that meets
            our accounting and reporting requirements. Specifically, we did not have a
13          sufficient complement of personnel with an appropriate degree of accounting
            knowledge and experience to appropriately analyze, record and disclose accounting
14          matters commensurate with our accounting and reporting requirements and lacked
            related internal controls necessary to satisfy our accounting and financial reporting
15          requirements. This material weakness contributed to the following additional
            material weaknesses:
16
                     We did not design or maintain effective controls over risk assessment,
17                    including designing and maintaining formal accounting policies,
                      procedures, and controls over significant accounts and disclosures to
18                    achieve complete, accurate and timely financial accounting, reporting and
                      disclosures, including with respect to revenue and receivables, inventory,
19                    equity and derivative liabilities, and period-end financial reporting.

20                   We did not design or maintain effective controls over information
                      technology (“IT”) general controls for information systems that are relevant
21                    to the preparation of its financial statements. Specifically, we did not design
                      and maintain: (i) program change management control for financial systems
22                    relevant to our financial reporting to ensure that information technology
                      program and data changes affecting financial IT applications and underlying
23                    accounting records are identified, tested, authorized and implemented
                      appropriately; (ii) user access controls to ensure appropriate segregation of
24                    duties and that adequately restrict user and privileged access to financial
                      applications, programs, and data to appropriate our personnel; (iii) computer
25                    operations controls to ensure critical data interfaces between systems are
                      appropriately identified and monitored, data backups are authorized and
26                    monitored, and restorations are tested; and (iv) testing and approval controls
                      for program development to ensure that new software development is
27                    aligned with business and IT requirements.

28

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 1          The material weaknesses related to the control environment and risk assessment
            resulted in adjustments to several accounts and disclosures in the December 31,
 2          2020, 2019 and 2018 annual and the March 31, 2021, September 30, 2020 and
            2019 quarterly financial statements. The IT deficiencies did not result in an
 3          adjustment to the financial statements; however, the deficiencies, when aggregated,
            could impact maintaining effective segregation of duties, as well as the
 4          effectiveness of IT-dependent controls (such as automated controls that address the
            risk of material misstatement to one or more assertions, along with the IT controls
 5          and underlying data that support the effectiveness of system-generated data and
            reports) that could result in misstatements potentially impacting all financial
 6          statement accounts and disclosures that would not be prevented or detected.
            Additionally, each of these material weaknesses could result in a misstatement of
 7          account balances or disclosures that would result in a material misstatement to the
            annual or interim condensed consolidated financial statements that would not be
 8          prevented or detected.

 9          33.    The above statements identified in ¶¶ 21-32 were materially false and/or

10 misleading, and failed to disclose material adverse facts about the Company’s business,

11 operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that View

12 had not properly accrued warranty costs related to its product; (2) that there was a material

13 weakness in View’s internal controls over accounting and financial reporting related to warranty

14 accrual; (3) that, as a result, the Company’s financial results for prior periods were misstated; and

15 (4) that, as a result of the foregoing, Defendants’ positive statements about the Company’s

16 business, operations, and prospects were materially misleading and/or lacked a reasonable basis.

17                              Disclosures at the End of the Class Period
18          34.    On August 16, 2021, after the market closed, View announced that it “began an
19 independent investigation concerning the adequacy of the company’s previously disclosed

20 warranty accrual.” In a Form 12b-25 filed with the SEC, View stated:

21          View, Inc. (the “Company”) is unable, without unreasonable effort or expense, to
            file its Quarterly Report on Form 10-Q for the three and six months ended June 30,
22          2021 (“Second Quarter 10-Q”) within the prescribed time period because it requires
            additional time to complete the investigation described below. The Company is
23          currently unable to predict when it will be able to file its Second Quarter 10-Q, and
            does not currently expect to file by the extended filing date pursuant to Rule 12b-
24          25.

25          The Audit Committee of the Company’s Board of Directors (“Audit Committee”)
            recently began an independent investigation concerning the adequacy of the
26          Company’s previously disclosed warranty accrual. The investigation is ongoing,
            and the Audit Committee continues to work diligently with independent counsel
27          and advisors to complete the investigation as soon as possible. The Company
            cannot predict the duration of the investigation, eventual scope, its outcome, or its
28          impact on the Company’s financial results or the Company’s assessment of its

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 1           internal control over financial reporting for prior periods. As a result, the Company
             has not finalized its financial statements or its assessment of the effectiveness of
 2           its disclosure controls and procedures and internal control over financial
             reporting for the three and six months ended June 30, 2021. The Company
 3           expects that it will finalize its financial statements and file the related Second
             Quarter 10-Q as soon as practicable after the conclusion of the investigation.
 4
             35.     On this news, the Company’s share price fell $1.26, or over 24%, to close at $3.92
 5
     per share on August 17, 2021, on unusually heavy trading volume.
 6
                                     CLASS ACTION ALLEGATIONS
 7
             36.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
 8
     Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that
 9
     purchased or otherwise acquired View securities between November 30, 2020 and August 16,
10
     2021, inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are
11
     Defendants, the officers and directors of the Company, at all relevant times, members of their
12
     immediate families and their legal representatives, heirs, successors, or assigns, and any entity in
13
     which Defendants have or had a controlling interest.
14
             37.     The members of the Class are so numerous that joinder of all members is
15
     impracticable. Throughout the Class Period, View’s shares actively traded on the NASDAQ.
16
     While the exact number of Class members is unknown to Plaintiff at this time and can only be
17
     ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or
18
     thousands of members in the proposed Class. Millions of View shares were traded publicly during
19
     the Class Period on the NASDAQ. Record owners and other members of the Class may be
20
     identified from records maintained by View or its transfer agent and may be notified of the
21
     pendency of this action by mail, using the form of notice similar to that customarily used in
22
     securities class actions.
23
             38.     Plaintiff’s claims are typical of the claims of the members of the Class as all
24
     members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
25
     federal law that is complained of herein.
26
             39.     Plaintiff will fairly and adequately protect the interests of the members of the Class
27
     and has retained counsel competent and experienced in class and securities litigation.
28

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 1           40.     Common questions of law and fact exist as to all members of the Class and

 2 predominate over any questions solely affecting individual members of the Class. Among the

 3 questions of law and fact common to the Class are:

 4                   (a)    whether the federal securities laws were violated by Defendants’ acts as

 5 alleged herein;

 6                   (b)    whether statements made by Defendants to the investing public during the

 7 Class Period omitted and/or misrepresented material facts about the business, operations, and

 8 prospects of View; and

 9                   (c)    to what extent the members of the Class have sustained damages and the

10 proper measure of damages.

11           41.     A class action is superior to all other available methods for the fair and efficient

12 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

13 damages suffered by individual Class members may be relatively small, the expense and burden of

14 individual litigation makes it impossible for members of the Class to individually redress the

15 wrongs done to them. There will be no difficulty in the management of this action as a class

16 action.

17                                 UNDISCLOSED ADVERSE FACTS
18           42.     The market for View’s securities was open, well-developed and efficient at all
19 relevant times. As a result of these materially false and/or misleading statements, and/or failures

20 to disclose, View’s securities traded at artificially inflated prices during the Class Period. Plaintiff

21 and other members of the Class purchased or otherwise acquired View’s securities relying upon

22 the integrity of the market price of the Company’s securities and market information relating to

23 View, and have been damaged thereby.

24           43.     During the Class Period, Defendants materially misled the investing public, thereby

25 inflating the price of View’s securities, by publicly issuing false and/or misleading statements

26 and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

27 herein, not false and/or misleading. The statements and omissions were materially false and/or

28

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 1 misleading because they failed to disclose material adverse information and/or misrepresented the

 2 truth about View’s business, operations, and prospects as alleged herein.

 3          44.    At all relevant times, the material misrepresentations and omissions particularized

 4 in this Complaint directly or proximately caused or were a substantial contributing cause of the

 5 damages sustained by Plaintiff and other members of the Class. As described herein, during the

 6 Class Period, Defendants made or caused to be made a series of materially false and/or misleading

 7 statements about View’s financial well-being and prospects. These material misstatements and/or

 8 omissions had the cause and effect of creating in the market an unrealistically positive assessment

 9 of the Company and its financial well-being and prospects, thus causing the Company’s securities

10 to be overvalued and artificially inflated at all relevant times. Defendants’ materially false and/or

11 misleading statements during the Class Period resulted in Plaintiff and other members of the Class

12 purchasing the Company’s securities at artificially inflated prices, thus causing the damages

13 complained of herein when the truth was revealed.

14                                         LOSS CAUSATION
15          45.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused
16 the economic loss suffered by Plaintiff and the Class.

17          46.    During the Class Period, Plaintiff and the Class purchased View’s securities at
18 artificially inflated prices and were damaged thereby. The price of the Company’s securities

19 significantly declined when the misrepresentations made to the market, and/or the information

20 alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

21 causing investors’ losses.

22                                    SCIENTER ALLEGATIONS
23          47.    As alleged herein, Defendants acted with scienter since Defendants knew that the

24 public documents and statements issued or disseminated in the name of the Company were

25 materially false and/or misleading; knew that such statements or documents would be issued or

26 disseminated to the investing public; and knowingly and substantially participated or acquiesced

27 in the issuance or dissemination of such statements or documents as primary violations of the

28 federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by

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 1 virtue of their receipt of information reflecting the true facts regarding View, their control over,

 2 and/or receipt and/or modification of View’s allegedly materially misleading misstatements and/or

 3 their associations with the Company which made them privy to confidential proprietary

 4 information concerning View, participated in the fraudulent scheme alleged herein.

 5                       APPLICABILITY OF PRESUMPTION OF RELIANCE
 6                            (FRAUD-ON-THE-MARKET DOCTRINE)
 7         48.     The market for View’s securities was open, well-developed and efficient at all

 8 relevant times. As a result of the materially false and/or misleading statements and/or failures to

 9 disclose, View’s securities traded at artificially inflated prices during the Class Period.     On

10 January 14, 2021, the Company’s share price closed at a Class Period high of $12.91 per share.

11 Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

12 securities relying upon the integrity of the market price of View’s securities and market

13 information relating to View, and have been damaged thereby.

14         49.     During the Class Period, the artificial inflation of View’s shares was caused by the

15 material misrepresentations and/or omissions particularized in this Complaint causing the damages

16 sustained by Plaintiff and other members of the Class. As described herein, during the Class

17 Period, Defendants made or caused to be made a series of materially false and/or misleading

18 statements about View’s business, prospects, and operations. These material misstatements and/or

19 omissions created an unrealistically positive assessment of View and its business, operations, and

20 prospects, thus causing the price of the Company’s securities to be artificially inflated at all

21 relevant times, and when disclosed, negatively affected the value of the Company shares.

22 Defendants’ materially false and/or misleading statements during the Class Period resulted in

23 Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

24 inflated prices, and each of them has been damaged as a result.

25         50.     At all relevant times, the market for View’s securities was an efficient market for

26 the following reasons, among others:

27                 (a)     View shares met the requirements for listing, and was listed and actively

28 traded on the NASDAQ, a highly efficient and automated market;

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 1                  (b)    As a regulated issuer, View filed periodic public reports with the SEC

 2 and/or the NASDAQ;

 3                  (c)    View regularly communicated with public investors via established market

 4 communication mechanisms, including through regular dissemination of press releases on the

 5 national circuits of major newswire services and through other wide-ranging public disclosures,

 6 such as communications with the financial press and other similar reporting services; and/or

 7                  (d)    View was followed by securities analysts employed by brokerage firms who

 8 wrote reports about the Company, and these reports were distributed to the sales force and certain

 9 customers of their respective brokerage firms. Each of these reports was publicly available and

10 entered the public marketplace.

11          51.     As a result of the foregoing, the market for View’s securities promptly digested

12 current information regarding View from all publicly available sources and reflected such

13 information in View’s share price. Under these circumstances, all purchasers of View’s securities

14 during the Class Period suffered similar injury through their purchase of View’s securities at

15 artificially inflated prices and a presumption of reliance applies.

16          52.     A Class-wide presumption of reliance is also appropriate in this action under the

17 Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

18 because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

19 and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

20 information regarding the Company’s business operations and financial prospects—information

21 that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

22 recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

23 investor might have considered them important in making investment decisions.             Given the

24 importance of the Class Period material misstatements and omissions set forth above, that

25 requirement is satisfied here.

26                                         NO SAFE HARBOR
27          53.     The statutory safe harbor provided for forward-looking statements under certain

28 circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

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 1 The statements alleged to be false and misleading herein all relate to then-existing facts and

 2 conditions. In addition, to the extent certain of the statements alleged to be false may be

 3 characterized as forward looking, they were not identified as “forward-looking statements” when

 4 made and there were no meaningful cautionary statements identifying important factors that could

 5 cause actual results to differ materially from those in the purportedly forward-looking statements.

 6 In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

 7 looking statements pleaded herein, Defendants are liable for those false forward-looking

 8 statements because at the time each of those forward-looking statements was made, the speaker

 9 had actual knowledge that the forward-looking statement was materially false or misleading,

10 and/or the forward-looking statement was authorized or approved by an executive officer of View

11 who knew that the statement was false when made.

12                                            FIRST CLAIM
13                         Violation of Section 10(b) of The Exchange Act and
14                                 Rule 10b-5 Promulgated Thereunder
15                                        Against All Defendants
16          54.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully
17 set forth herein.

18          55.    During the Class Period, Defendants carried out a plan, scheme and course of
19 conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

20 public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

21 other members of the Class to purchase View’s securities at artificially inflated prices.           In

22 furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

23 took the actions set forth herein.

24          56.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

25 untrue statements of material fact and/or omitted to state material facts necessary to make the

26 statements not misleading; and (iii) engaged in acts, practices, and a course of business which

27 operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

28 maintain artificially high market prices for View’s securities in violation of Section 10(b) of the

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 1 Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

 2 wrongful and illegal conduct charged herein or as controlling persons as alleged below.

 3          57.    Defendants, individually and in concert, directly and indirectly, by the use, means

 4 or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

 5 continuous course of conduct to conceal adverse material information about View’s financial well-

 6 being and prospects, as specified herein.

 7          58.    Defendants employed devices, schemes and artifices to defraud, while in

 8 possession of material adverse non-public information and engaged in acts, practices, and a course

 9 of conduct as alleged herein in an effort to assure investors of View’s value and performance and

10 continued substantial growth, which included the making of, or the participation in the making of,

11 untrue statements of material facts and/or omitting to state material facts necessary in order to

12 make the statements made about View and its business operations and future prospects in light of

13 the circumstances under which they were made, not misleading, as set forth more particularly

14 herein, and engaged in transactions, practices and a course of business which operated as a fraud

15 and deceit upon the purchasers of the Company’s securities during the Class Period.

16          59.    Each of the Individual Defendants’ primary liability and controlling person liability

17 arises from the following facts: (i) the Individual Defendants were high-level executives and/or

18 directors at the Company during the Class Period and members of the Company’s management

19 team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

20 activities as a senior officer and/or director of the Company, was privy to and participated in the

21 creation, development and reporting of the Company’s internal budgets, plans, projections and/or

22 reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

23 other defendants and was advised of, and had access to, other members of the Company’s

24 management team, internal reports and other data and information about the Company’s finances,

25 operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

26 Company’s dissemination of information to the investing public which they knew and/or

27 recklessly disregarded was materially false and misleading.

28

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 1          60.    Defendants had actual knowledge of the misrepresentations and/or omissions of

 2 material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

 3 ascertain and to disclose such facts, even though such facts were available to them. Such

 4 defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

 5 for the purpose and effect of concealing View’s financial well-being and prospects from the

 6 investing public and supporting the artificially inflated price of its securities. As demonstrated by

 7 Defendants’ overstatements and/or misstatements of the Company’s business, operations, financial

 8 well-being, and prospects throughout the Class Period, Defendants, if they did not have actual

 9 knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to obtain

10 such knowledge by deliberately refraining from taking those steps necessary to discover whether

11 those statements were false or misleading.

12          61.    As a result of the dissemination of the materially false and/or misleading

13 information and/or failure to disclose material facts, as set forth above, the market price of View’s

14 securities was artificially inflated during the Class Period. In ignorance of the fact that market

15 prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

16 the false and misleading statements made by Defendants, or upon the integrity of the market in

17 which the securities trades, and/or in the absence of material adverse information that was known

18 to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants

19 during the Class Period, Plaintiff and the other members of the Class acquired View’s securities

20 during the Class Period at artificially high prices and were damaged thereby.

21          62.    At the time of said misrepresentations and/or omissions, Plaintiff and other

22 members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

23 and the other members of the Class and the marketplace known the truth regarding the problems

24 that View was experiencing, which were not disclosed by Defendants, Plaintiff and other members

25 of the Class would not have purchased or otherwise acquired their View securities, or, if they had

26 acquired such securities during the Class Period, they would not have done so at the artificially

27 inflated prices which they paid.

28

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 1          63.    By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

 2 and Rule 10b-5 promulgated thereunder.

 3          64.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

 4 other members of the Class suffered damages in connection with their respective purchases and

 5 sales of the Company’s securities during the Class Period.

 6                                          SECOND CLAIM
 7                           Violation of Section 20(a) of The Exchange Act
 8                                  Against the Individual Defendants
 9          65.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

10 set forth herein.

11          66.    Individual Defendants acted as controlling persons of View within the meaning of

12 Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

13 their ownership and contractual rights, participation in, and/or awareness of the Company’s

14 operations and intimate knowledge of the false financial statements filed by the Company with the

15 SEC and disseminated to the investing public, Individual Defendants had the power to influence

16 and control and did influence and control, directly or indirectly, the decision-making of the

17 Company, including the content and dissemination of the various statements which Plaintiff

18 contends are false and misleading. Individual Defendants were provided with or had unlimited

19 access to copies of the Company’s reports, press releases, public filings, and other statements

20 alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

21 had the ability to prevent the issuance of the statements or cause the statements to be corrected.

22          67.    In particular, Individual Defendants had direct and supervisory involvement in the

23 day-to-day operations of the Company and, therefore, had the power to control or influence the

24 particular transactions giving rise to the securities violations as alleged herein, and exercised the

25 same.

26          68.    As set forth above, View and Individual Defendants each violated Section 10(b)

27 and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

28 as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

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 1 Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

 2 members of the Class suffered damages in connection with their purchases of the Company’s

 3 securities during the Class Period.

 4                                        PRAYER FOR RELIEF
 5          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

 6          (a)    Determining that this action is a proper class action under Rule 23 of the Federal

 7 Rules of Civil Procedure;

 8          (b)    Awarding compensatory damages in favor of Plaintiff and the other Class members

 9 against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

10 wrongdoing, in an amount to be proven at trial, including interest thereon;

11          (c)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

12 this action, including counsel fees and expert fees; and

13          (d)    Such other and further relief as the Court may deem just and proper.

14                                       JURY TRIAL DEMANDED
15          Plaintiff hereby demands a trial by jury.
16

17 DATED: August 18, 2021                      GLANCY PRONGAY & MURRAY LLP

18                                             By: s/ Pavithra Rajesh
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28

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                   SWORN CERTIFICATION OF PLAINTIFF


                     VIEW, INC. SECURITIES LITIGATION


  I, Asif Mehedi, certify that:

  1. I have reviewed the Complaint, adopt its allegations, and authorize the filing of a
     Lead Plaintiff motion on my behalf.

  2. I did not purchase the View, Inc. securities that are the subject of this action at the
     direction of plaintiff’s counsel or in order to participate in any private action arising
     under this title.

  3. I am willing to serve as a representative party on behalf of a class and will testify at
     deposition and trial, if necessary.

  4. My transactions in View, Inc. securities during the Class Period set forth in the
     Complaint are as follows:

         (See attached transactions)

  5. I have not sought to serve, nor served, as a representative party on behalf of a class
     under this title during the last three years, except for the following:

  6. I will not accept any payment for serving as a representative party, except to receive
     my pro rata share of any recovery or as ordered or approved by the court, including
     the award to a representative plaintiff of reasonable costs and expenses (including lost
     wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.



  8/17/2021
________________                         _________________________________________
      Date                                            Asif Mehedi
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           Asif Mehedi's Transactions in View, Inc. (VIEW)
       Date      Transaction Type       Quantity       Unit Price
      2/24/2021       Bought                     10          $10.49
       2/1/2021       Bought                     75          $10.98
       2/1/2021       Bought                     25          $11.01
       2/1/2021       Bought                     25          $11.00
      2/18/2021       Bought                     30          $11.22
      2/23/2021       Bought                     10          $10.75
      2/24/2021       Bought                     25          $10.49
      2/24/2021       Bought                     50          $10.46
      2/25/2021       Bought                     20          $10.07
      2/25/2021       Bought                     30          $10.08
      2/26/2021       Bought                       5         $10.02
       3/8/2021       Bought                     10           $8.65
      3/24/2021       Bought                     35           $7.81
       4/6/2021       Bought                     20           $8.00
      4/12/2021       Bought                     30           $8.25
      4/14/2021       Bought                     20           $8.73
      4/14/2021       Bought                     10           $8.71
      4/15/2021       Bought                     10           $7.03
      4/21/2021       Bought                     10           $6.82
      4/22/2021       Bought                     25           $7.45
      4/29/2021       Bought                       5          $9.42
      4/29/2021       Bought                     20           $9.44
      4/30/2021       Bought                       5          $8.97
      5/11/2021       Bought                     10           $6.74
      5/13/2021       Bought                     10           $6.11
      5/13/2021       Bought                       3          $6.88
      5/13/2021       Bought                     22           $6.89
      5/13/2021       Bought                     10           $6.86
      5/14/2021       Bought                     50           $6.40
       6/1/2021       Bought                     20           $8.18
       6/4/2021       Bought                     20           $8.10
       6/4/2021       Bought                     10           $8.05
      6/15/2021       Bought                     10           $8.89
      6/15/2021       Bought                     10           $8.83
      6/21/2021       Bought                     25           $8.79
      6/22/2021       Bought                     25           $8.78
      6/28/2021       Bought                     20           $8.32
      6/28/2021       Bought                     15           $8.43
      6/28/2021       Bought                     25           $8.42
      6/28/2021       Bought                     15           $8.35
      6/30/2021       Bought                     10           $8.42
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       Date     Transaction Type   Quantity        Unit Price
       7/1/2021     Bought                    10          $8.04
       7/1/2021     Bought                    10          $8.05
       7/1/2021     Bought                    10          $7.95
       7/1/2021     Bought                    10          $8.02
       7/2/2021     Bought                    20          $7.55
       7/2/2021     Bought                    20          $7.61
       7/2/2021     Bought                    10          $7.73
       7/2/2021     Bought                    15          $7.73
       7/8/2021     Bought                    25          $6.91
      7/12/2021     Bought                     4          $7.07
      7/15/2021     Bought                     1          $7.20
      7/19/2021     Bought                    25          $6.76
      7/26/2021     Bought                    15          $6.52
       8/2/2021     Bought                     2          $6.15
       8/3/2021     Bought                     3          $6.02
       8/3/2021     Bought                    15          $6.01
      8/13/2021     Bought                    10          $5.37
      8/16/2021     Bought                     5          $5.24
      8/16/2021     Bought                     5          $5.24
